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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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12    William Berry,                            Case No.: 2:20-cv-00158-MWF-JC
13                Plaintiff,                    Hon. Michael W. Fitzgerald
14          v.                                  ORDER FOR DISMISSAL WITH
                                                PREJUDICE
15    Jafar Rashid, Trustee of the Jafar
      Rashid and Reetu Rashid Living Trust
16    dated 9-24-13; Reetu Rashid, Trustee of   Action Filed: January 6, 2020
      the Jafar Rashid and Reetu Rashid         Trial Date:   Not on Calendar
17    Living Trust dated 9-24-13; and Does
      1-10,
18                              Defendants.
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                                ORDER FOR DISMISSAL WITH PREJUDICE
Case 2:20-cv-00158-MWF-JC Document 52 Filed 10/16/20 Page 2 of 2 Page ID #:454
